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                                                                                                       E-FILED
                                                                    Friday, 12 November, 2021 03:02:27 PM
                                                                               Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

 JENNIFER J. MILLER, et al.,
                                                          Case No. 18 cv 3085
                 Plaintiffs,
                                                          Hon. Sue E. Myerscough
                                                          Presiding Judge
 v.
                                                          Hon. Tom Schanzle-Haskins
 MARC D. SMITH, et al.,                                   Magistrate Judge

                 Defendants.

  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT UNDER FED. R. CIV. P. 56

        Defendants MARC SMITH, in his official capacity as director of the Department of

Children and Family Services, and KWAME RAOUL, Attorney General of Illinois, by and

through their undersigned attorneys and pursuant to Rule 56 of the Federal Rules of Civil

Procedure, move this honorable Court to enter summary judgment in favor of Defendants and

against Plaintiffs. In support thereof, it is stated:

        1.      Plaintiffs Jennifer and Darin Miller are DCFS-licensed foster caregivers. Jennifer

Miller is a DCFS-licensed day care home operator.

        2.      The Millers, along with the Organizational Plaintiffs Illinois State Rifle

Association, Illinois Carry, and the Second Amendment Foundation, on behalf of their members,

claim that their right to keep and bear arms under the Second Amendment to the United States is

infringed by 89 Ill. Admin. Code § 402.8(o) (as well as certain forms related thereto), a DCFS

regulation which prohibits loaded guns in a foster home and requires that firearms be stored locked,

unloaded, and separate from ammunition, which must also be locked.

        3.      All Plaintiffs also claims that their Second Amendment rights are violated by 225

ILCS 10/7(13)–(15) and 89 Ill. Admin. § 406.8(17)–(18), a provision of the Child Care Act and



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corresponding DCFS regulation that prohibits handguns on the premises of a day care home and

requires that other firearms be kept in a disassembled state, unloaded, locked, separated from

ammunition, which must also be locked.

       4.      The Millers knowingly and voluntarily waived any Second Amendment rights to

keep or store firearms in a manner contrary to the above provisions when the agreed to become

licensed foster caregivers and a licensed day care home operator.

       5.      Even if their rights were not waived, the challenged provisions are outside the scope

of the Second Amendment for multiple reasons.

       6.      First, both regulations are consistent with a historical tradition of regulating storage

of gunpowder (the historical antecedent to ammunition) and access to firearms by minors.

       7.      Second, the regulation related to day care homes is a presumptively valid regulation

of a sensitive place, akin to a school.

       8.      Third, the regulation related to foster homes is a regulation in a longstanding

tradition permitting the government to exercise control over the work of those with whom it

contracts.

       9.      Even if the Court were to find that the challenged provisions are within the scope

of the Second Amendment, it should subject them to relatively lax scrutiny because neither

regulation is a severe burden on the right to keep and bear arms, and neither restricts activity close

to the core of the Second Amendment.

       10.     Under any degree of scrutiny, the challenged provisions are substantially related to

the important government interest in ensuring the safety of children. The regulations mandate

practices that have been shown to reduce the risk to children of suicide, homicide, and




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unintentional injury by firearms. The provisions are thus permissible under the Second

Amendment.

         11.   For all of these reasons, Defendants are entitled to summary judgement against the

Millers.

         12.   Defendants are also entitled to summary judgment against the Organizational

Plaintiffs because their claims derive from the Millers, who are the only members of their

organizations affected by these rules.

         13.   Finally, all claims against Defendant Raoul must fail because he is not a proper

party.

         WHEREFORE, Defendants pray that this honorable Court enter summary judgment in

favor of Defendants and against Plaintiffs on all claims.

                                                     Respectfully submitted,

                                                     KWAME RAOUL
                                                     Illinois Attorney General

                                              By:    /s/ Matthew V. Chimienti
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                              CERTIFICATE OF SERVICE

       I, Matthew V. Chimienti, an attorney, certify that on November 12, 2021, I caused the

foregoing Defendants’ Motion for Summary Judgment to be electronically filed via the Court’s

CM/ECF system and thereby served on all counsel of record.



                                                                    /s/ Matthew V. Chimienti

                                                                    Assistant Attorney General




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